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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                              )
JUDICIAL WATCH, INC,                          )
                                              )
               Plaintiff,                     )
                                              )
      v.                                      )     Civil Action No. 20-cv-1789 (TSC)
                                              )
MURIEL BOWSER, in her official capacity )
as Mayor of the District of Columbia, et al., )
                                              )
               Defendants.                    )
                                              )


                                             ORDER

        For reasons set forth in the accompanying Memorandum Opinion, ECF No. 22,

Defendants’ Motion to Dismiss, ECF No. 12, is GRANTED.



Date: February 7, 2022


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge
